     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 1 of 23

 1   XAVIER BECERRA, State Bar No. 118517
     Attorney General of California
 2   HARRISON POLLAK, State Bar No. 200879
     Supervising Deputy Attorney General
 3   JOSHUA R. PURTLE, State Bar No. 298215
     Deputy Attorney General
 4    1515 Clay Street, 20th Floor
      P.O. Box 70550
 5    Oakland, CA 94612-0550
      Telephone: (510) 879-0098
 6    Fax: (510) 622-2270
      E-mail: Joshua.Purtle@doj.ca.gov
 7   Attorneys for Xavier Becerra, in his Official
     Capacity as Attorney General of the State of
 8   California

 9
                              IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12

13

14   CALIFORNIA CHAMBER OF
     COMMERCE,
15                                                        2:19-CV-02019-KJM-EFB
                                             Plaintiff,
16                                                        MEMORANDUM IN SUPPORT OF
                    v.                                    ATTORNEY GENERAL XAVIER
17                                                        BECERRA’S MOTION TO DISMISS
                                                          FIRST AMENDED COMPLAINT
18   XAVIER BECERRA, IN HIS OFFICIAL
     CAPACITY AS ATTORNEY GENERAL                    Date:              May 15, 2020
19   OF THE STATE OF CALIFORNIA,                     Time:              10:00 am
                                                     Courtroom:         3 (15th Floor)
20                                        Defendant; Judge:             Hon. Kimberly J. Mueller
                                                     Trial Date:        None
21   and                                             Action Filed:      October 7, 2019

22   COUNCIL FOR EDUCATION AND
     RESEARCH ON TOXICS,
23
                              Defendant-Intervenor.
24

25

26
27

28

              Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 2 of 23

 1                                                     TABLE OF CONTENTS
 2                                                                                                                                          Page
 3   INTRODUCTION ........................................................................................................................... 1

 4   BACKGROUND ............................................................................................................................. 2

 5      I.            PROPOSITION 65 CITIZEN SUITS ............................................................................ 2

 6      II.           THE CHAMBER’S FIRST AMENDED COMPLAINT .............................................. 4

 7   ARGUMENT ................................................................................................................................... 4

 8      I.            THE AMENDED COMPLAINT FAILS TO STATE A CLAIM UNDER
                      SECTION 1983 .............................................................................................................. 5
 9
              A.           Private Enforcers Do Not Perform a Traditional, Exclusive
10                         Public Function ........................................................................................................ 6

11            B.           Private Enforcers Do Not Act Jointly with the Attorney General ........................... 8

12            C.           The State Does Not Compel Private Enforcers to Bring
                           Enforcement Actions .............................................................................................. 12
13
              D.           The Amended Complaint Does Not Allege a Deprivation by
14                         the Attorney General .............................................................................................. 13

15      II.           THE CHAMBER’S DECLARATORY JUDGMENT ACT CLAIM
                      SHOULD BE DISMISSED UNDER BRILLHART ................................................... 14
16
        III.          THE AMENDED COMPLAINT SHOULD BE DISMISSED UNDER
17                    COLORADO RIVER .................................................................................................. 14

18   CONCLUSION .............................................................................................................................. 17

19

20
21

22

23

24

25

26
27

28
                                                                            i
                   Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 3 of 23

 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                       Page
 3   CASES
 4   Am. Mfrs. Mut. Ins. Co. v. Sullivan
       526 U.S. 40 (1999) ............................................................................................................ passim
 5

 6   Babbitt v. United Farm Workers Nat’l Union,
        442 U.S. 289 (1979) ..................................................................................................................14
 7
     Blum v. Yaretsky
 8      457 U.S. 991 (1982) ..................................................................................................................12

 9   Brillhart v. Excess Ins. Co. of Am.
         316 U.S. 491 (1942) ..........................................................................................................1, 4, 14
10
     Brunette v. Humane Soc’y of Ventura Cty.
11
        294 F.3d 1205 (9th Cir. 2002)...................................................................................................11
12
     Burton v. Wilmington Parking Auth.
13      365 U.S. 715 (1961) ..................................................................................................................11

14   Cal. Chamber of Commerce v. Brown
        196 Cal. App. 4th 233 (2011).................................................................................................. 1-2
15
     Caltex Plastics, Inc. v. Lockheed Martin Corp.
16      824 F.3d 1156 (9th Cir. 2016).....................................................................................................5
17
     Colo. River Water Conservation Dist. v. United States
18      424 U.S. 800 (1976) .......................................................................................................... passim

19   Flagg Bros., Inc. v. Brooks
        436 U.S. 149 (1978) ....................................................................................................................6
20
     Florer v. Congregation Pidyon Shevuyim, N.A.
21       639 F.3d 916 (9th Cir. 2011).................................................................................................8, 13
22
     Gov’t Emps. Ins. Co. v. Dizol.
23      133 F.3d 1220 (9th Cir. 1998) (en banc) .....................................................................................1

24   Jackson v. Metro. Edison Co.
        419 U.S. 345 (1974) ..............................................................................................................8, 14
25
     Kirtley v. Rainey
26       326 F.3d 1088 (9th Cir. 2003).........................................................................................5, 12, 13
27   Koninklijke Philips Elecs. N.V. v. KXD Tech., Inc.
28      539 F.3d 1039 (9th Cir. 2008)...................................................................................................16
                                                                         ii
                Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 4 of 23

 1                                                  TABLE OF AUTHORITIES
                                                          (continued)
 2                                                                                                                                       Page
 3   Lopez v. Candaele
        630 F.3d 775 (9th Cir. 2010).....................................................................................................14
 4
     Lugar v. Edmondson Oil Co.
 5
        457 U.S. 922 (1982) ................................................................................................................5, 6
 6
     Manhattan Cmty. Access Corp. v. Halleck
 7     139 S. Ct. 1921 (2019) ..................................................................................................5, 6, 8, 12

 8   Montanore Minerals Co. v. Bakie
       867 F.3d 1160 (9th Cir. 2017).......................................................................................14, 15, 16
 9
     Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.
10     460 U.S. 1 (1983) ......................................................................................................................15
11
     Nabors Well Servs. Co. v. Bradshaw
12      No. CV 05-8334 GAF (CTX), 2006 WL 8432088 (C.D. Cal. Feb. 15, 2006) .............6, 7, 8, 11

13   Naoko Ohno v. Yuko Yasuma
        723 F.3d 984 (9th Cir. 2013).....................................................................................................12
14
     Parents for Privacy v. Barr
15      949 F.3d 1210 (9th Cir. 2020).................................................................................................5, 9
16   Real Estate Bar Ass’n For Mass., Inc. v. Nat’l Real Estate Info. Servs.
17      608 F.3d 110 (1st Cir. 2010) .........................................................................................6, 7, 8, 12

18   Rendell-Baker v. Kohn
        457 U.S. 830 (1982) ....................................................................................................................7
19
     Roberts v. AT&T Mobility LLC
20      877 F.3d 833 (9th Cir. 2017).................................................................................................6, 10
21   Rochez v. Mittleton
22      839 F. Supp. 1075 (S.D.N.Y. 1993) ............................................................................................7

23   Seneca Ins. Co. v. Strange Land, Inc.
        862 F.3d 835 (9th Cir. 2017).....................................................................................................15
24
     Sommer v. United States
25      713 F. Supp. 2d 1191 (S.D. Cal. 2010) .....................................................................................13
26   Tsao v. Desert Palace, Inc.
        698 F.3d 1128 (9th Cir. 2012).................................................................................................5, 8
27

28
                                                                         iii
                Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 5 of 23

 1                                                     TABLE OF AUTHORITIES
                                                             (continued)
 2                                                                                                                                               Page
 3   Vincent v. Trend W. Tech. Corp.
        828 F.2d 563 (9th Cir. 1987).....................................................................................................11
 4
     STATE STATUTES
 5

 6   Cal. Code Civ. Proc.
        § 128.7 .......................................................................................................................................10
 7
     Cal. Health & Safety Code
 8      § 25249.6 .....................................................................................................................................2
        § 25249.7(b) ................................................................................................................................3
 9      § 25249.7(d) ..........................................................................................................................2, 12
        § 25249.7(d)(1) .................................................................................................................2, 9, 13
10
        § 25249.7(d)(2) ...............................................................................................................8, 10, 13
11      § 25249.7(e)(1)(A) ..................................................................................................................2, 9
        § 25249.7(e)(1)(B) ..................................................................................................................3, 9
12      § 25249.7(e)(2) ........................................................................................................................3, 9
        § 25249.7(f) ...............................................................................................................................10
13      § 25249.7(f)(1) ............................................................................................................................3
        § 25249.7(f)(4) ......................................................................................................................3, 13
14
        § 25249.7(f)(5) ..................................................................................................................3, 9, 10
15      § 25249.7(g) ................................................................................................................................3
        § 25249.7(h)(2) .......................................................................................................................3, 9
16      § 25249.7(o) ................................................................................................................................3
        § 25249.12 ...................................................................................................................................3
17      § 25249.12(c) ............................................................................................................................11
18
     Cal. Labor Code
19      § 2699 ....................................................................................................................................7, 11
        § 2699(a) .....................................................................................................................................7
20      § 2699(i) ....................................................................................................................................11

21   FEDERAL STATUTES
22   16 U.S.C.
        § 1540(g) .....................................................................................................................................7
23
        § 1540(g)(2)(A)(ii) ....................................................................................................................10
24
     33 U.S.C.
25      § 1365 ..........................................................................................................................................7
        § 1365(b)(1)(B) .........................................................................................................................10
26
     42 U.S.C.
27      § 300j-8 .......................................................................................................................................7
        § 300j-8(b)(1)(B) .......................................................................................................................10
28
                                                                             iv
                Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 6 of 23

 1                                                    TABLE OF AUTHORITIES
                                                            (continued)
 2                                                                                                                                             Page
 3        § 1983 ................................................................................................................................ passim
 4   COURT RULES
 5   Fed. R. Civ. P. 12(b)(6) .............................................................................................................2, 4, 5
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                                             v
                Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 7 of 23

 1                                           INTRODUCTION

 2          In this matter, the California Chamber of Commerce (“Chamber”) seeks an injunction to

 3   prevent private persons and organizations from suing the Chamber’s members under the

 4   California Safe Drinking Water and Toxic Enforcement Act (“Proposition 65”) for failing to

 5   provide warnings for exposures to acrylamide from food and beverage products. The Chamber

 6   initially brought this action under the Declaratory Judgment Act, but the Court exercised its

 7   discretion under Brillhart v. Excess Ins. Co. of Am., 316 U.S. 491 (1942), to dismiss the

 8   Chamber’s Complaint to “discourag[e] forum shopping and avoid[] duplicative litigation.” ECF

 9   No. 56 at 6. In doing so, the Court found that the Chamber sought to bring a “‘reactive

10   declaratory action’” in federal court in response to an unfavorable decision in state court and that

11   the Chamber’s federal action “would likely be duplicative of claims in the roughly 38 ongoing

12   state court proceedings involving acrylamide and Proposition 65.” ECF No. 56 at 5 (quoting

13   Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220, 1225 (9th Cir. 1998) (en banc)).

14          The Chamber now seeks to revive its federal lawsuit by pleading a claim under 42 U.S.C.

15   § 1983. This second attempt to invoke federal jurisdiction fares no better than the first.

16   Presumably the Chamber added the section 1983 claim in response to the Court’s ruling that the

17   original Complaint failed to plead a ground for injunctive relief independent of the Chamber’s

18   declaratory relief claim. ECF No. 56 at 4. The First Amended Complaint also fails to state a

19   claim under section 1983, however, because the Chamber has not pled facts sufficient to show

20   that private Proposition 65 enforcers are “state actors” for purposes of section 1983, such that
21   their actions can be fairly attributed to the Attorney General. Nor could the Chamber meet that

22   burden: the Attorney General does not control private enforcers or act in concert with them, and

23   Proposition 65 does not provide the Attorney General the authority to stop private enforcement

24   actions from going forward. To the contrary, Proposition 65’s citizen suit provision is designed

25   to give private parties significant discretion to enforce the Act’s requirements with minimal state

26   involvement, consistent with the people’s finding in adopting the statute that “state government
27   agencies have failed to provide them with adequate protection” from hazardous chemicals. Cal.

28
                                                       1
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 8 of 23

 1   Chamber of Commerce v. Brown, 196 Cal. App. 4th 233, 258 (2011). The Chamber’s section

 2   1983 claim (Count II) should therefore be dismissed. Fed. R. Civ. P. 12(b)(6).

 3           If the Court dismisses the Chamber’s section 1983 claim, the Court should also dismiss

 4   the Chamber’s Declaratory Judgment Act claim (Count I), for the reasons the Court stated in its

 5   first dismissal order. ECF No. 56. In the alternative, the Court should dismiss both Counts under

 6   Colorado River Water Conservation District v. United States, 424 U.S. 800 (1976), to discourage

 7   forum-shopping by the Chamber and avoid duplicative litigation that will unnecessarily tax the

 8   Court’s limited judicial resources.

 9                                             BACKGROUND

10         For background on acrylamide and Proposition 65, the Attorney General directs the Court

11   to the Attorney General’s memoranda in support of his first motion to dismiss (ECF Nos. 21, 39)

12   and response to the Chamber’s motion for preliminary injunction (ECF No. 47). The Attorney

13   General here provides additional background relating to the basis for this motion to dismiss.

14   I.    PROPOSITION 65 CITIZEN SUITS

15           Proposition 65 generally requires businesses to provide warnings before exposing

16   consumers to carcinogens and reproductive toxicants listed pursuant to the statute. Cal. Health &

17   Safety Code § 25249.6. The statute permits any “person” to bring an action “in the public

18   interest” to enforce this requirement. Id. § 25249.7(d).

19           A private party seeking to bring an enforcement action must notify the Attorney General

20   before they file the action and when certain important events occur in the course of the action.
21   First, the private enforcer must provide 60 days’ notice of the alleged Proposition 65 violation to

22   the alleged violator and to the Attorney General and certain local government prosecutors. Id.

23   § 25249.7(d)(1). The notice must include a certificate that “there is a reasonable and meritorious

24   case for the private action” (that is, a “certificate of merit”) and “[f]actual information sufficient

25   to establish the basis of” that certificate. Id. If, after reviewing the notice and certificate of merit,

26   the Attorney General “believes there is no merit to the action, the Attorney General shall serve a
27   letter to the noticing party and the alleged violator stating” as much. Id. § 25249.7(e)(1)(A).

28   However, “[i]f the Attorney General does not serve” such a letter, “this shall not be construed as
                                                    2
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 9 of 23

 1   an endorsement by the Attorney General of the merit of the action.” Cal. Health & Safety Code

 2   § 25249.7(e)(1)(B). When the Attorney General does send a “no-merit” letter, the private

 3   enforcer can still proceed with the case, although it may be subject to sanctions if, upon the

 4   conclusion of an action, the trial court determines that there was “no actual or threatened

 5   exposure to a listed chemical.” Id. § 25249.7(h)(2).

 6          Private enforcers must next notify the Attorney General when the action is filed, id.

 7   § 25249.7(e)(2), and again when the action “is subject either to a settlement or to a judgment,” id.

 8   § 25249.7(f)(1). The statute also provides that settlement of a private enforcement action (other

 9   than voluntary dismissal) may occur only with court approval after a noticed motion, id.

10   § 25249.7(f)(4); the private enforcer must serve the motion for settlement on the Attorney

11   General, “who may appear and participate in a [settlement] proceeding without intervening in the

12   case.” Id. § 25249.7(f)(5). Private enforcers and other litigants in Proposition 65 matters must

13   also serve on the Attorney General briefs and other papers filed in state appellate proceedings.

14   § 25249.7(o).

15          The Attorney General is required to maintain a record of the information he has received

16   from private enforcers and make that information available to the public. Cal. Health & Safety

17   Code § 25249.7(g); see also Office of the Attorney General, Proposition 65 Enforcement

18   Reporting, https://oag.ca.gov/prop65/. The Attorney General is not otherwise required to take

19   any action in response to notices he receives pursuant to Proposition 65 requirements.

20          Proposition 65 allows courts to assess civil penalties of up to $2,500 per violation per day
21   against businesses that violate its requirements. Cal. Health & Safety Code § 25249.7(b).

22   Seventy-five percent of any penalty assessed under Proposition 65 must be deposited in the Safe

23   Drinking Water and Toxic Enforcement Fund, for use by the Office of Environmental Health

24   Hazard Assessment to pay for implementation and administration of Proposition 65. Id.

25   § 25249.12.

26
27

28
                                                       3
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 10 of 23

 1   II.   THE CHAMBER’S FIRST AMENDED COMPLAINT

 2          As discussed, the Court dismissed the Chamber’s first Complaint under Brillhart in an

 3   Order dated March 3, 2020, to “discourag[e] forum shopping and avoid[] duplicative litigation.”

 4   ECF No. 56 at 5-6. The Amended Complaint is in most respects identical to the original

 5   Complaint, but it attempts to plead an additional claim under 42 U.S.C. § 1983 (Count II). See

 6   First Amended Complaint for Declaratory and Injunctive Relief (“Amended Complaint”), ¶¶ 88-

 7   96. The Chamber attempts to show that the Attorney General is liable under section 1983 for

 8   private parties’ Proposition 65 enforcement actions by alleging that:

 9          (1) “Private enforcement actions are authorized by state statute to be brought only ‘in the
                public interest’”;
10
            (2) “Private enforcers must provide notice to the Attorney General and other
11              public prosecutors before initiating an enforcement action”;

12          (3) According to the Chamber, “[t]he Attorney General screens and evaluates
                private enforcers’ notices of prospective enforcement actions and is obligated
13              to object to any enforcement action he believes lacks merit”;

14          (4) “Private enforcers may initiate an enforcement action only if the Attorney
                General and all district attorneys and city attorneys of certain large cities have
15              not begun prosecuting the alleged violations themselves”;

16          (5) According to the Chamber, “[t]he State, through the Attorney General, is
                authorized to review and challenge proposed settlements in private
17              enforcement actions”; and

18          (6) “Seventy-five percent of any penalties assessed in private enforcement actions
                go to the State treasury.”
19

20   Amended Complaint, ¶ 95. On the basis of these allegations, the Amended Complaint argues that
21   private enforcers “stand in the shoes of the State when enforcing the Proposition 65 statute” and
22   that private enforcement actions “are both directly and indirectly regulated, monitored, controlled,
23   and guided by the California Attorney General’s Office.” Amended Complaint, ¶ 96.
24                                              ARGUMENT
25          The Amended Complaint fails to state a claim under 42 U.S.C. § 1983 because the
26   Chamber has not pled facts sufficient to demonstrate that Proposition 65 enforcement actions
27   brought by private parties are fairly attributable to the state. Fed. R. Civ. P. 12(b)(6). The Court
28
                                                       4
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 11 of 23

 1   should therefore dismiss the Chamber’s section 1983 claim (Count II). The Court should further

 2   dismiss the Chamber’s Declaratory Judgment Act claim (Count I) for the reasons stated in the

 3   Court’s March 3, 2020 Order granting the Attorney General’s motion to dismiss. ECF No. 56.

 4   Alternatively, the Court should dismiss both Counts under Colorado River.

 5   I.    THE AMENDED COMPLAINT FAILS TO STATE A CLAIM UNDER
           SECTION 1983
 6

 7          The Amended Complaint fails to state a claim under section 1983 because the facts it

 8   alleges, even taken as true, do not establish that actions brought by private parties to enforce the

 9   acrylamide warning requirement are “fairly attributable to the State.” Tsao v. Desert Palace, Inc.,

10   698 F.3d 1128, 1139 (9th Cir. 2012) (quotation omitted). Under Federal Rule of Civil Procedure

11   12(b)(6), “a complaint must be dismissed when a plaintiff’s allegations fail to set forth a set of

12   facts that, if true, would entitle the complainant to relief.” Parents for Privacy v. Barr, 949 F.3d

13   1210, 1221 (9th Cir. 2020). To survive a motion to dismiss on this ground, the Amended

14   Complaint’s “factual allegations must plausibly suggest an entitlement to relief.” Caltex Plastics,

15   Inc. v. Lockheed Martin Corp., 824 F.3d 1156, 1159 (9th Cir. 2016) (quotation omitted).

16          A section 1983 plaintiff must allege “a deprivation of a right secured by the Constitution

17   or laws of the United States” by a defendant who “acted under color of state law.” Kirtley v.

18   Rainey, 326 F.3d 1088, 1092 (9th Cir. 2003). Section 1983 thus applies only to “state actor[s]”—

19   typically, state officials or agencies. Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 (1982). A

20   private party may nevertheless “qualify as a state actor in a few limited circumstances”: “(i)
21   when the private entity performs a traditional, exclusive public function; (ii) when the

22   government compels the private entity to take a particular action; or (iii) when the government

23   acts jointly with the private entity.” Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921,

24   1928 (2019) (citations omitted). The gist of this inquiry is whether the private party’s actions are

25   “‘fairly attributable to the State.’” Tsao, 698 F.3d at 1139 (quoting Lugar, 457 U.S. at 937). The

26   Chamber’s Amended Complaint fails to plead facts sufficient to meet this test.
27

28
                                                       5
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 12 of 23

 1         A.    Private Enforcers Do Not Perform a Traditional, Exclusive Public
                 Function
 2

 3          First, private enforcers do not “perform[] a traditional, exclusive public function” when

 4   they bring Proposition 65 enforcement actions. Manhattan Cmty. Access Corp., 139 S. Ct. at

 5   1928. The U.S. Supreme Court “has stressed that very few functions fall into [this] category.”

 6   Id. at 1929 (quotation omitted) (“Under the Court’s cases, those functions include, for example,

 7   running elections and operating a company town.”). To meet this test, the Chamber must “show

 8   more than the mere performance of a public function by a private entity”; it must show that “the

 9   private party performed a public function that has been traditionally the exclusive prerogative of

10   the state.” Real Estate Bar Ass’n For Mass., Inc. v. Nat’l Real Estate Info. Servs., 608 F.3d 110,

11   121 (1st Cir. 2010) (quotations omitted; emphasis added).

12          The Chamber appears to invoke this test by alleging that “[p]rivate enforcement actions

13   are authorized by state statute to be brought only ‘in the public interest.’” Amended Complaint,

14   ¶ 95.a. But “[a]n action undertaken by a private party does not become state action merely

15   because the action is authorized by state statute.” Real Estate Bar Ass’n, 608 F.3d at 122 (citing

16   Flagg Bros., Inc. v. Brooks, 436 U.S. 149, 164-66 (1978)); Roberts v. AT&T Mobility LLC, 877

17   F.3d 833, 845 (9th Cir. 2017) (“[P]ermission of a private choice cannot support a finding of state

18   action, … and private parties [do not] face constitutional litigation whenever they seek to rely on

19   some [statute] governing their interactions with the community surrounding them.” (quoting

20   Lugar, 457 U.S. at 937, and Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 53 (1999))). Thus,

21   litigation—even litigation concerning important public matters like public health—“is not a

22   traditional government function” for section 1983 purposes. Nabors Well Servs. Co. v.

23   Bradshaw, No. CV 05-8334 GAF (CTX), 2006 WL 8432088, at *3 (C.D. Cal. Feb. 15, 2006); see

24   also Am. Mfrs. Mut. Ins., 526 U.S. at 53 (“We have never held that the mere availability of a

25   remedy for wrongful conduct, even when the private use of that remedy serves important public

26   interests, so significantly encourages the private activity as to make the State responsible for it.”).

27   A court has even held that criminal proceedings initiated by private litigants do not qualify as

28   state action for section 1983 purposes, noting that “[t]he prosecutorial function is not … the
                                                      6
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 13 of 23

 1   exclusive prerogative of the state.” See Rochez v. Mittleton, 839 F. Supp. 1075, 1081 (S.D.N.Y.

 2   1993).

 3            Nor does acting “in the public interest” convert private action into an exclusively public

 4   function. “That a private entity performs a function which serves the public does not make its

 5   acts state action.” Rendell-Baker v. Kohn, 457 U.S. 830, 842 (1982). To the contrary, statutes

 6   for decades have permitted private actions to enforce public rights. These include the citizen suit

 7   provisions of the federal Clean Water Act, 33 U.S.C. § 1365, Endangered Species Act, 16 U.S.C.

 8   § 1540(g), and Safe Drinking Water Act, 42 U.S.C. § 300j-8. These federal statutes permit

 9   private parties to seek civil penalties and injunctions against those who violate environmental

10   laws and regulations. California law also permits citizen suits, including under the California

11   Labor Code Private Attorneys General Act of 2004. See Cal. Labor Code § 2699. This statute

12   permits a private party to seek civil penalties for violations of the Labor Code to the same extent

13   that the Labor and Workforce Development Agency is authorized to do so. Id. § 2699(a).

14   Proposition 65’s provision for private enforcement actions is merely another example of such a

15   citizen suit statute.

16            The Attorney General has not found a single case holding that a private party transforms

17   into a state actor when he brings a citizen suit to enforce public rights. The few courts that have

18   considered this issue have declined to apply section 1983 to citizen suit litigants. In Nabors Well

19   Servs. Co., 2006 WL 8432088, at *2-3, the Court held that a person who brought a citizen suit to

20   enforce California labor law requirements under the Labor Code Private Attorneys General Act
21   was not a “state actor” for section 1983 purposes, noting that such litigation “is not a traditional

22   government function.” Likewise, in Real Estate Bar Association For Massachusetts, Inc. v.

23   National Real Estate Information Services, 608 F.3d at 121-23, the Court held that private bar

24   associations suing to enforce the state’s unauthorized-practice-of-law statute were not state actors.

25   The Court found that the power to bring such litigation “is far from an exclusive function of

26   government.” Id. at 122. The Court should reach the same conclusion here.
27

28
                                                        7
              Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 14 of 23

 1         B.      Private Enforcers Do Not Act Jointly with the Attorney General

 2         Second, private Proposition 65 enforcers do not act jointly with the state when they bring

 3   private actions to enforce the warning requirement for exposures to acrylamide in food products.

 4   Manhattan Cmty. Access Corp., 139 S. Ct. at 1928. “The joint action test asks whether state

 5   officials and private parties have acted in concert in effecting a particular deprivation of

 6   constitutional rights,” Tsao, 698 F.3d at 1140 (quotation omitted), and “whether the state has so

 7   far insinuated itself into a position of interdependence with the private entity that it must be

 8   recognized as a joint participant in the challenged activity,” Florer v. Congregation Pidyon

 9   Shevuyim, N.A., 639 F.3d 916, 926 (9th Cir. 2011) (quotation omitted).

10          The Amended Complaint’s allegations do not meet this test, either. Private Proposition 65

11   enforcers are “private organization[s] that operate[] independently of the state government.” Real

12   Estate Bar Ass’n, 608 F.3d at 123. The Amended Complaint does not allege otherwise.

13   Amended Complaint, ¶ 95; Nabors Well Servs. Co., 2006 WL 8432088, at *3 (noting that in

14   cases finding joint action, “there have been significant indications of joint planning, nothing was

15   passive about [the agency’s] involvement with [the private party], and the agency and private

16   party acted together” (quotations omitted)). Far from acting “in concert” with the Attorney

17   General, private enforcers can file a case only if a public enforcer has not done so first. Cal.

18   Health & Safety Code § 25249.7(d)(2). Their independent ability to enforce the statute is not

19   evidence that the Attorney General acts “in concert” with them in acrylamide matters. Tsao, 698

20   F.3d at 1140 (quotation omitted).
21          The Amended Complaint’s allegations also do not demonstrate that the Attorney General

22   “has so far insinuated [himself] into a position of interdependence with the private entity that [he]

23   must be recognized as a joint participant in the challenged activity.” Florer, 639 F.3d at 926

24   (quotation omitted). The Attorney General’s role in regulating limited aspects of private

25   enforcement actions does not support holding him responsible for such actions. See Jackson v.

26   Metro. Edison Co., 419 U.S. 345, 350 (1974) (“The mere fact that a business is subject to state
27   regulation”—even “extensive and detailed” regulation—“does not by itself convert its action into

28   that of the State for purposes of the Fourteenth Amendment”).
                                                       8
                Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 15 of 23

 1          The Amended Complaint cites Proposition 65’s notice requirements, see Amended

 2   Complaint, ¶ 95.b, but the Chamber’s reliance on those requirements is misplaced. Private

 3   enforcers are required to notify the Attorney General 60 days before filing an action; when the

 4   action is filed; and when a settlement agreement is proposed (unless the proposed settlement is a

 5   voluntary dismissal). Cal. Health & Safety Code § 25249.7(d)(1), (e)(2), (f)(5). A requirement

 6   that private parties provide notice to the government, however, is not sufficient to demonstrate

 7   joint action with the state. Am. Mfrs. Mut. Ins., 526 U.S. at 55 (government agency could not be

 8   held responsible for private parties’ actions where its “participation is limited to requiring insurers

 9   to file a form prescribed by the Bureau, processing the request for technical compliance, and then

10   forwarding the matter” to a private entity (quotation and citation omitted)).

11          The Amended Complaint also asserts that, under Proposition 65, the Attorney General

12   “screens and evaluates private enforcers’ notices of prospective enforcement actions and is

13   obligated to object to any enforcement action he believes lacks merit.” Amended Complaint,

14   ¶ 95.c. This assertion overstates the Attorney General’s duties under the statute. Parents for

15   Privacy, 949 F.3d at 1221 (court evaluating a motion to dismiss is “not required to accept as true

16   legal conclusions couched as factual allegations”). Proposition 65 requires the Attorney General

17   to “serve a letter” on the private enforcer and the alleged violator if, after reviewing a 60-day

18   notice and accompanying factual information, “the Attorney General believes there is no merit to

19   the action.” Cal. Health & Safety Code § 25249.7(e)(1)(A). The statute emphasizes, however,

20   that the Attorney General’s failure to serve a no-merit letter “shall not be construed as an
21   endorsement by the Attorney General of the merit of the action.” Id. § 25249.7(e)(1)(B). Further,

22   the statute does not contemplate that the Attorney General can stop the action from going

23   forward. Even after receiving a no-merit letter, the private enforcer can move ahead with her

24   enforcement action, albeit at the risk of sanctions if the defendant is ultimately successful. See id.

25   § 25249.7(e)(1)(A), (h)(2).

26          Even if the Amended Complaint accurately described the statutory scheme—which it does
27   not—the Attorney General’s decision not to “object” to a private enforcement action does not

28   support holding the Attorney General responsible for that litigation. “Action taken by private
                                                    9
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 16 of 23

 1   entities with the mere approval or acquiescence of the State is not state action.” Am. Mfrs. Mut.

 2   Ins., 526 U.S. at 52; see also Roberts, 877 F.3d at 845 (“[O]ur cases will not tolerate the

 3   imposition of [constitutional] restraints on private action by the simple device of characterizing

 4   the State’s inaction as ‘authorization’ or ‘encouragement.’” (quoting Am. Mfrs. Mut. Ins., 526

 5   U.S. at 54)). Private actions filed over the Attorney General’s objection cannot fairly be

 6   attributed to him, either.

 7           As the Amended Complaint notes, the Attorney General can preempt a would-be private

 8   enforcement action by initiating an action himself before the 60-day period has elapsed. See Cal.

 9   Health & Safety Code § 25249.7(d)(2); Amended Complaint ¶ 95.d. This limitation on citizen

10   suits is consistent with limitations imposed by federal citizen suit statutes. See 33 U.S.C.

11   § 1365(b)(1)(B) (federal Clean Water Act); 16 U.S.C. § 1540(g)(2)(A)(ii) (federal Endangered

12   Species Act); 42 U.S.C. § 300j-8(b)(1)(B) (federal Safe Drinking Water Act). However, for good

13   reason, the Attorney General does not use this statutory authority to file preemptive enforcement

14   actions if he has determined the allegations have no merit. See Cal. Code Civ. Proc. § 128.7

15   (authorizing sanctions for filing claims that are not legally or factually warranted).

16           The Chamber also alleges that “[t]he State, through the Attorney General, is authorized to

17   review and challenge proposed settlements in private enforcement actions” Amended Complaint,

18   ¶ 95.e (citing Cal. Health & Safety Code § 25249.7(f)), but this allegation, too, fails to

19   demonstrate state action. The statutory provision the Chamber cites provides that private

20   enforcers must notify the Attorney General if they file a motion to enter into a settlement
21   agreement with an alleged Proposition 65 violator (other than an agreement to voluntarily dismiss

22   the action), and the Attorney General may then “appear and participate in [the settlement]

23   proceeding without intervening in the case.” Cal. Health & Safety Code § 25249.7(f)(5). But just

24   as the Attorney General does not prevent a private enforcer from bringing an enforcement action

25   he believes is not meritorious, by objecting to a settlement the Attorney General does not

26   automatically block it from being approved. See id. § 25249.7(f)(5). Rather, the statute allows
27   the Attorney General to make his objections to a settlement known to the court, which then

28   decides whether to approve it. Even if the Attorney General had authority to block proposed
                                                    10
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 17 of 23

 1   settlements—which he does not—his use of (or failure to use) that authority would not make him

 2   responsible for the resulting settlement or any other part of the associated private enforcement

 3   action. See Am. Mfrs. Mut. Ins., 526 U.S. at 52.

 4          The Amended Complaint also cites the fact that seventy-five percent of civil penalties

 5   assessed in private enforcement actions must be deposited in the state’s Safe Drinking Water and

 6   Toxic Enforcement Fund, Cal. Health & Safety Code § 25249.12(c); Amended Complaint, ¶ 95.f,

 7   but this requirement does not change the Court’s analysis. “[T]he fact that the State allows

 8   private suits and receives a portion of certain recoveries does not imply” joint action between the

 9   state and private enforcers. Nabors Well Servs. Co., 2006 WL 8432088, at *3. Courts have

10   found state action on the basis of a financial benefit to the state only when private action “confers

11   significant financial benefits indispensable to the government’s financial success,” such that there

12   is a “symbiotic relationship” between the state and the private actor. Brunette v. Humane Soc’y

13   of Ventura Cty., 294 F.3d 1205, 1213 (9th Cir. 2002) (emphasis added; quotation omitted). That

14   is, the government must have “so far insinuated itself into a position of interdependence (with a

15   private entity) that it must be recognized as a joint participant in the challenged activity.” Id.

16   (quoting Burton v. Wilmington Parking Auth., 365 U.S. 715, 725 (1961)). The Chamber has not

17   alleged that civil penalty recoveries in private acrylamide warning enforcement actions—or even

18   penalties in private enforcement actions overall—are “indispensable” to the state or that the

19   Attorney General is in a “position of interdependence” with any of the private enforcers.

20   Amended Complaint, ¶ 95; Vincent v. Trend W. Tech. Corp., 828 F.2d 563, 569 (9th Cir. 1987)
21   (“While [the private party] may have been dependent economically on its contract with the Air

22   Force, [it] was most certainly not an indispensable element in the Air Force's financial success.”).

23          Thus, in Nabors Well Servs. Co. v. Bradshaw, the Central District of California rejected

24   an argument that a private party suing under Labor Code section 2699 is a state actor because “the

25   state is authorized to recover” seventy-five percent of the penalties a private party is awarded in

26   its enforcement action. 2006 WL 8432088, at *2; see also Cal. Labor Code § 2699(i).
27   Proposition 65’s identical allocation of seventy-five percent of private-enforcer civil penalties to

28
                                                       11
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 18 of 23

 1   the state Safe Drinking Water and Toxic Enforcement Fund is likewise not a basis for finding

 2   state action here.

 3         C.      The State Does Not Compel Private Enforcers to Bring Enforcement
                   Actions
 4

 5           Third, the state does not compel private enforcers to bring enforcement actions, such that

 6   their litigation could fairly be considered state litigation. Manhattan Cmty. Access Corp., 139 S.

 7   Ct. at 1928. “The compulsion test considers whether the coercive influence or significant

 8   encouragement of the state effectively converts a private action into a government action.”

 9   Kirtley, 326 F.3d at 1094 (quotation omitted). Proposition 65 permits but does not require private

10   enforcement actions. Cal. Health & Safety Code § 25249.7(d) (“Actions pursuant to this section

11   may be brought by a person in the public interest ….” (emphasis added)). The Amended

12   Complaint does not allege anything to the contrary. Amended Complaint, ¶¶ 95-96.

13           Proposition 65’s civil penalties also do not provide such “significant encouragement” that

14   the choice to initiate a private enforcement action “must in law be deemed to be that of the State.”

15   Blum v. Yaretsky, 457 U.S. 991, 1004 (1982). If the mere provision of a money award to

16   successful private litigants were sufficient to make private litigation attributable to the state, then

17   the state could be liable for any private damages lawsuit brought pursuant to a state statute. To

18   the contrary, the courts “have never held that the mere availability of a remedy for wrongful

19   conduct, even when the private use of that remedy serves important public interests, so

20   significantly encourages the private activity as to make the State responsible for it.” Am. Mfrs.
21   Mut. Ins., 526 U.S. at 53; see also Real Estate Bar Ass’n, 608 F.3d at 122 (“An action undertaken

22   by a private party does not become state action merely because the action is authorized by state

23   statute.”).

24           Some courts have also applied a “nexus” test to determine whether private action may be

25   considered state action, although the Ninth Circuit has indicated that this test is “largely

26   subsume[d]” within the other state action tests and may not have independent force. Naoko Ohno
27   v. Yuko Yasuma, 723 F.3d 984, 995 n.13 (9th Cir. 2013). Assuming this additional test applies

28   here, for the reasons stated above, the Amended Complaint does not meet it. The nexus test asks
                                                    12
              Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 19 of 23

 1   whether “there is such a close nexus between the State and the challenged action that seemingly

 2   private behavior may be fairly treated as that of the State itself.” Florer, 639 F.3d at 924

 3   (quotation omitted). There is no “close nexus” between private enforcement actions and the

 4   Attorney General because, as stated, the Attorney General does not command private enforcers to

 5   bring enforcement actions or block private actions that the Attorney General believes are

 6   meritless. Kirtley, 326 F.3d at 1095 (finding that there was no close nexus between a guardian ad

 7   litem and the state, even though the guardian “is appointed by a state actor, is paid by the state,

 8   and is subject to regulation by state law”). Further, the statute itself treats private enforcers

 9   differently from the Attorney General and other government prosecutors: unlike public enforcers,

10   private enforcers are required to provide 60 days’ notice before filing an action, Cal. Health &

11   Safety Code § 25249.7(d)(1); they cannot sue if a public enforcer has already sued, id.

12   § 25249.7(d)(2); they are subject to sanctions if they bring a frivolous case, id. § 25249.7(h)(2);

13   and they must get judicial approval to settle their cases, id. § 25249.7(f)(4). Proposition 65 itself

14   thus does not treat private enforcers as an arm of the state, even though they are authorized to

15   enforce the statute in independent actions. The Court should not treat private enforcers as state

16   actors, either.

17         D.     The Amended Complaint Does Not Allege a Deprivation by the Attorney
                  General
18

19         The Chamber may argue that, even if the actions of private enforcers cannot be attributed to

20   the Attorney General, the Attorney General himself is a state actor with authority to Proposition
21   65. But the Chamber cannot rely on the Attorney General’s status as a state actor to support its

22   section 1983 claim. As discussed, a section 1983 plaintiff must allege “a deprivation of a right

23   secured by the Constitution or laws of the United States” by a defendant who “acted under color

24   of state law.” Kirtley, 326 F.3d at 1092 (emphasis added). The Amended Complaint includes

25   numerous allegations about private enforcement actions but does not allege any act by the

26   Attorney General himself that has caused a deprivation of the Chambers’ members’ First
27   Amendment rights. In particular, the Amended Complaint does not allege that the Attorney

28   General intends to enforce the acrylamide warning requirements against the Chambers’ members,
                                                   13
              Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 20 of 23

 1   now or in the future. See Lopez v. Candaele, 630 F.3d 775, 785 (9th Cir. 2010) (plaintiff seeking

 2   to bring a “pre-enforcement” section 1983 claim must demonstrate a “credible threat of

 3   prosecution”) (quoting Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979)).

 4   And, for the reasons stated above, the Attorney General’s limited role in regulating the private

 5   enforcement scheme is also not sufficient to support a section 1983 claim against him. See

 6   Jackson, 419 U.S. at 350.

 7          For these reasons, the Amended Complaint fails to state a claim under section 1983.

 8   Count II should therefore be dismissed.

 9   II.   THE CHAMBER’S DECLARATORY JUDGMENT ACT CLAIM SHOULD BE
           DISMISSED UNDER BRILLHART
10

11         If the Court dismisses the Chamber’s section 1983 claim—which it should—the Court

12   should also dismiss the Chamber’s declaratory judgment claim (Count I) for the reasons stated in

13   the Court’s previous dismissal order. See ECF No. 56 at 3-6. Although the Chamber could limit

14   the Court’s discretion to dismiss under Brillhart by pleading a viable section 1983 claim, see ECF

15   No. 56 at 3-4, the Chamber has not done so here. The Court should therefore again exercise its

16   discretion to dismiss the Chamber’s declaratory judgment claim to “discourag[e] forum shopping

17   and avoid[] duplicative litigation.” ECF No. 56 at 6.

18   III. THE AMENDED COMPLAINT SHOULD BE DISMISSED UNDER
          COLORADO RIVER
19

20         In the alternative, the Court should dismiss or stay the Amended Complaint pursuant to
21   Colorado River. See Colo. River Water Conservation Dist., 424 U.S. 800. Federal courts may

22   dismiss or stay a matter under Colorado River “in deference to pending, parallel state

23   proceedings” in “exceptional circumstances.” Montanore Minerals Co. v. Bakie, 867 F.3d 1160,

24   1165 (9th Cir. 2017). In determining whether such exceptional circumstances exist, the Court

25   should consider:

26          (1) which court first assumed jurisdiction over any property at stake;
27          (2) the inconvenience of the federal forum;
28          (3) the desire to avoid piecemeal litigation;
                                                      14
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 21 of 23

 1             (4) the order in which the forums obtained jurisdiction;

 2             (5) whether federal law or state law provides the rule of decision on the merits;

 3             (6) whether the state court proceedings can adequately protect the rights of the
                   federal litigants;
 4
               (7) the desire to avoid forum shopping; and
 5
               (8) whether the state court proceedings will resolve all issues before the federal
 6                 court.

 7   Id. at 1166 (quotation omitted). “These factors are not a ‘mechanical checklist’; indeed, some

 8   may not have any applicability to a case.” Seneca Ins. Co. v. Strange Land, Inc., 862 F.3d 835,

 9   842 (9th Cir. 2017) (quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,

10   16 (1983)). The Court should therefore weigh these factors in “a pragmatic, flexible manner with

11   a view to the realities of the case at hand.” Moses H. Cone Mem’l Hosp., 460 U.S. at 21.

12         The Colorado River factors support dismissal here. The first Colorado River factor does

13   not apply because there is no property at stake, and the fifth factor does not favor abstention

14   because the Chamber asserts only a federal claim. All of the other Colorado River factors

15   supports dismissal. Under the second factor—inconvenience of the federal forum—Sacramento

16   County is an inconvenient forum for the private enforcers involved in the ongoing state

17   acrylamide enforcement actions. Although the Chamber has argued that convenience to the

18   private enforcers is irrelevant because the Chamber has not sued them, ECF No. 30 at 24, the

19   Chamber seeks to adjudicate their rights, and in fact to enjoin them from bringing Proposition 65

20   lawsuits in the future. Amended Complaint, Prayer for Relief, ¶ 3. The Chamber’s choice to

21   litigate this matter in Sacramento, where none of the private enforcers are located, may therefore

22   restrict private enforcers’ ability to intervene or otherwise participate in this matter to protect their

23   rights.

24         Further, under the third Colorado River factor, allowing the Chamber’s declaratory

25   judgment action to proceed would result in piecemeal litigation, as this Court considers the

26   Chamber’s First Amendment claim while the same claim has been asserted in parallel state court

27   proceedings. See Montanore Minerals, 867 F.3d at 1167 (holding that need to avoid piecemeal

28   litigation supported a stay where mining company had filed “two separate actions in two different
                                                   15
               Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 22 of 23

 1   courts” in pursuit of its “singular goal” of “extinguishing Defendants’ claimed rights”); ECF No.

 2   56 at 5 (“[P]laintiff’s declaratory relief claim would likely be duplicative of claims in the roughly

 3   38 ongoing state court proceedings involving acrylamide and Proposition 65.”). Dismissal is also

 4   warranted under the fourth factor because the state courts obtained jurisdiction over this matter

 5   first in the numerous ongoing state enforcement proceedings; indeed, the First Amendment issue

 6   the Chamber seeks to raise here is currently before the California Court of Appeal on a writ of

 7   mandate following a trial court’s rejection of the defense. See Montanore Minerals, 867 F.3d at

 8   1168 (holding this factor supported Colorado River stay where “not only did the state court obtain

 9   jurisdiction long before the federal court, but the state court proceedings had progressed

10   significantly”).

11         Consistent with the sixth Colorado River factor, the state courts will adequately protect the

12   Chambers’ members’ rights, including by considering where necessary any First Amendment

13   claims they may raise. See id. at 1169 (“When it is clear that the state court has authority to

14   address the [federal] rights and remedies at issue this factor may weigh in favor of a stay.”

15   (quotation omitted)). The Chamber has nevertheless argued that there is “substantial doubt”

16   whether state court litigation will resolve the Chamber members’ First Amendment claims

17   because the “issue has evaded review” in state court, ECF No. 30 at 23-24. The Chamber

18   ignores, however, that its members’ First Amendment defense has evaded review only because

19   they themselves have avoided state court, choosing to settle rather than litigate enforcement

20   actions involving acrylamide. Amended Complaint, ¶ 60; see Koninklijke Philips Elecs. N.V. v.
21   KXD Tech., Inc., 539 F.3d 1039, 1045 (9th Cir. 2008) (declining to grant interlocutory review in

22   part because any harm to party seeking review “is entirely of their own making”).

23         Dismissal is also warranted under the seventh Colorado River factor to avoid forum

24   shopping by the Chamber’s members, who will have an opportunity to litigate their First

25   Amendment claim in state court enforcement proceedings, where defendants have routinely pled

26   it as a defense. See Montanore Minerals, 867 F.3d at 1169-70; ECF No. 56 at 5. The Court
27   should not expend its extremely limited judicial resources on claims that could be raised and

28   litigated in pending state court proceedings. See Standing Order in Light of Ongoing Judicial
                                                     16
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
     Case 2:19-cv-02019-KJM-EFB Document 61 Filed 03/30/20 Page 23 of 23

 1   Emergency in the Eastern District of California (undated) (Drozd, J.). Lastly, applying the eighth

 2   factor, the state courts will necessarily address the Chamber’s members’ First Amendment

 3   claims, if presented for decision, before ruling against them in the state court enforcement

 4   proceedings, thus resolving all the issues the Chamber seeks to raise in this action. For these

 5   reasons, dismissal is also warranted under Colorado River.

 6                                             CONCLUSION
 7         The Court should dismiss Count II of the Amended Complaint for failure to allege facts

 8   sufficient to show that private Proposition 65 enforcement actions are fairly attributable to the

 9   Attorney General, as required to state a claim under 42 U.S.C. § 1983. The Court should further

10   dismiss Count I for the reasons stated in the Court’s previous dismissal order, ECF No. 56. In the

11   alternative, the Court should dismiss the Amended Complaint pursuant to Colorado River to

12   discourage forum-shopping and avoid duplicative litigation.

13

14   Dated: March 30, 2020                                 Respectfully submitted,
15                                                         XAVIER BECERRA
                                                           Attorney General of California
16                                                         HARRISON POLLAK
                                                           Supervising Deputy Attorney General
17
                                                           /s/ Joshua R. Purtle
18                                                         JOSHUA R. PURTLE
                                                           Deputy Attorney General
19                                                         Attorneys for Xavier Becerra, in his Official
                                                           Capacity as Attorney General of the State
20                                                         of California
21   SD2019300528

22

23

24

25

26
27

28
                                                      17
             Xavier Becerra’s Mem. in Support of Motion to Dismiss Amended Complaint (2:19-CV-02019-KJM-EFB)
